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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:
                                                                      Chapter 11

   PATRIOT COAL CORPORATION, et al.,                                  Case No. 12-12900 (SCC)

                                                                      (Jointly Administered)
   Debtors.1


                       ORDER APPROVING EXPEDITED
                       PROCEDURES FOR (i) THE SALE
                OF CERTAIN ASSETS FREE AND CLEAR OF LIENS,
                  CLAIMS AND ENCUMBRANCES AND (ii) THE
            ABANDONMENT OF CERTAIN OF THE DEBTORS’ PROPERTY

                     Upon the motion dated July 19, 2012 (the “Motion”)2 of Patriot Coal

   Corporation and its subsidiaries that are debtors and debtors in possession in these

   proceedings (collectively, the “Debtors”), for authorization to establish expedited

   procedures (the “Procedures”), pursuant to (i) sections 105(a) and 363 of the Bankruptcy

   Code for the sale of certain assets arguably outside the ordinary course of the Debtors’

   businesses for a Sale Price of $5,000,000 or less (the “De Minimis Assets”) free and

   clear of liens, claims, and encumbrances and (ii) sections 105(a) and 554(a) of the

   Bankruptcy Code for the abandonment of certain of the De Minimis Assets, as more fully

   described in the Motion;3 and the Court having jurisdiction to consider the Motion and

            1
              The Debtors are the entities listed on Schedule 1 attached to the Motion. The employer tax
   identification numbers and addresses for each of the Debtors are set forth in the Debtors’ chapter 11
   petitions.
            2
             Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to it in
   the Motion.
            3
               For purposes of this Order, a sale shall include, and the Procedures shall apply to, entry into
   exchange agreements that the Debtors enter into in the ordinary course of their businesses, which involve
   swapping non-strategic coal mineral rights or other assets for cash, other assets or coal mineral rights, that
   are strategic to the Debtors’ operations. A sale shall not include any transaction covered by any interim or
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   the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and Standing Order

   M-61 Referring to Bankruptcy Judges for the Southern District of New York Any and All

   Proceedings Under Title 11, dated July 10, 1984 (Ward, Acting C.J.) as amended by

   Standing Order M-431, dated February 1, 2012 (Preska, C.J.); and consideration of the

   Motion and the requested relief being a core proceeding the Bankruptcy Court can

   determine pursuant to 28 U.S.C. § 157(b)(2); and due and proper notice of the Motion

   having been provided in accordance with the Case Management Order; and it appearing

   that no other or further notice need be provided; and the relief requested in the Motion

   being in the best interests of the Debtors and their estates and creditors; and the Court

   having reviewed the Motion and having held a hearing with appearances of parties in

   interest noted in the transcript thereof (the “Hearing”); and the Court having determined

   that the legal and factual bases set forth in the Motion and at the Hearing establish just

   cause for the relief granted herein; and upon all of the proceedings had before the Court

   and after due deliberation and sufficient cause appearing therefor, it is

                     ORDERED that any objections to the Motion that have not been

   withdrawn are hereby overruled; and it is further

                     ORDERED that the relief requested in the Motion is hereby granted as set

   forth herein; and it is further

                     ORDERED that the Procedures are hereby approved and, subject to the

   terms of this Order, may be implemented in the Debtors’ chapter 11 cases; and it is

   further


   final order authorizing the Debtors, in the ordinary course of their businesses, to enter into and perform
   under contracts with customers to sell coal from the Debtors’ mining operations or acquired from other
   sources.


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                   ORDERED that if the Procedures conflict with the Case Management

   Order, the Procedures shall control with respect to the sale and abandonment of De

   Minimis Assets. In all other circumstances, except as otherwise provided by separate

   order, the Case Management Order shall govern. For the avoidance of doubt, these

   Procedures shall not apply to any separate motion filed seeking approval of the sale or

   abandonment of De Minimis Assets; and it is further

                   ORDERED that Local Bankruptcy Rules 6004-1 and 6005-1 are hereby

   waived with respect to any sale of De Minimis Assets undertaken pursuant to the

   Procedures; and it is further

                   ORDERED that for purposes of the Procedures, the cash or other proceeds

   estimated to be realized by the Debtors’ estates from the sale of an asset shall constitute

   the “Sale Price.” The Sale Price shall be determined without consideration of whether

   the property for sale is free and clear of all liens, claims, interests and encumbrances; and

   it is further

                   ORDERED that, solely for the purposes of the Procedures and the

   calculation of the Sale Price, entry into a series of sales within any given sixty-day period

   between any of the Debtors, on the one hand, and the same given counterparty and/or its

   affiliates, on the other hand, shall be deemed to be entry into a single sale; and it is

   further

                   ORDERED that if the Sale Price of a De Minimis Asset is less than or

   equal to $1,500,000, for any transaction in which the purchaser is not an insider of the

   Debtors, and not described in a Sale Notice (defined below), the Debtors are hereby

   authorized to sell such De Minimis Assets pursuant to such transaction without further



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   notice to any party or hearing; provided, however, that the Debtors shall, on August 30,

   2012, and by the 15th day after the last business day of each calendar month thereafter,

   serve a report containing the following information regarding such sales made during the

   prior calendar month: (i) a description of the assets actually sold; (ii) the buyer(s) that

   consummated each sale; (iii) the total consideration actually received; (iv) the Debtors’

   estimate of the fair market value of the assets, if available; and (v) a brief description of

   the circumstances surrounding the sale process, including the marketing efforts relating

   thereto, on a confidential basis, upon (a) proposed counsel to the Official Committee of

   Unsecured Creditors (the “Committee”), Kramer Levin Naftalis & Frankel LLP, 1177

   Avenue of the Americas, New York, New York 10036, Attn: Adam C. Rogoff, Esq. and

   Gregory G. Plotko, Esq. and (b) counsel to the administrative agents for the Debtors’

   postpetition lenders (the “DIP Agents”), (1) Weil, Gotshal & Manges LLP, 767 Fifth

   Avenue, New York, New York 10153, Attn: Marcia Goldstein and Joseph Smolinsky and

   (2) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, New York 10019,

   Attn: Margot B. Schonholtz and Ana Alfonso; provided further that, with respect to the

   proposed sale or transfer of (i) any interest in a De Minimis Asset that is subject to

   known environmental contamination that requires reporting to a governmental unit under

   applicable environmental law or, if not so required, is reasonably expected to require

   non-de minimis investigation, remediation or cleanup under applicable environmental

   laws, (ii) any interest in real property that is associated with licenses or permits issued by

   state regulators under the Surface Mining Control and Reclamation Act, 30 U.S.C.

   § 1234 et seq., and its implementing regulations, 30 C.F.R. Part 700 et seq. (collectively,

   “SMCRA”), licenses or permits issued under the Clean Water Act’s implementing



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   regulations establishing the National Pollutant Discharge Elimination System

   (“NPDES”) and the State Pollutant Discharge Elimination System (“SPDES”), 40 C.F.R.

   Part 123 et seq., or licenses or permits issued by the Nuclear Regulatory Commission

   (“NRC”), the Debtors shall provide notice (with a copy to the Committee’s counsel) and

   a description of the known environmental contamination and/or regulatory license or

   permit to the United States Department of Justice five days prior to the sale or transfer of

   such De Minimis Asset; provided further that with respect to the proposed sale or transfer

   of (i) any interest in a De Minimis Asset located within the State of West Virginia that is

   subject to known environmental contamination that requires reporting to a governmental

   unit under applicable environmental law or, if not so required, is reasonably expected to

   require non-de minimis investigation, remediation or cleanup under applicable

   environmental laws, (ii) any interest in real property that is associated with licenses or

   permits issued by the State of West Virginia Department of Environmental Protection,

   (iii) any interest in a De Minimis Asset located within the State of West Virginia that

   otherwise is subject to the provision of notice required under applicable law or (iv) any

   interest in mining or reclamation equipment necessary to comply with licenses or permits

   issued by the State of West Virginia (the immediately preceding clauses (i)-(iv),

   collectively, the “West Virginia Property Interests”), the Debtors shall provide notice

   (with a copy to the Committee’s counsel) and a description of the known environmental

   contamination and/or regulatory license or permit to the West Virginia Department of

   Environmental Protection; provided further that with respect to any sale of real property

   that is subject to any coal mining permits with a surety bond securing the Debtors’

   obligations under such permits, the Debtors shall provide notice (with a copy to the



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   Committee’s counsel) to the applicable surety bond provider (and its counsel), to the

   extent known to the Debtors after reasonable inquiry, with such notice to be provided five

   days prior to the proposed sale or transfer and to include the identity of the real property

   and the related coal mining permit affected. All notices to the United States Department

   of Justice required by this Order shall be sent by mail and e-mail to the United States

   Attorney’s Office for the Southern District of New York, 86 Chambers Street, Third

   Floor, New York, New York 10007 (Attn: AUSA Natalie N. Kuehler) (e-mail:

   natalie.kuehler@usdoj.gov) and all notices to the West Virginia Department of

   Environmental Protection required by this Order shall be sent by mail and e-mail to

   Bailey & Glasser LLP, 209 Capitol Street, Charleston, West Virginia 25301 (Attn: Kevin

   W. Barrett and Athanasios Basdekis) (e-mail: kbarrett@baileyglasser.com and

   tbasdekis@baileyglasser.com). To the extent that counsel to the Debtors, Davis Polk &

   Wardwell LLP, 450 Lexington Avenue, New York, New York 10017, Attn: Marshall S.

   Huebner and Brian M. Resnick, receives a written notice of an objection to any proposed

   sale under this paragraph by the United States Department of Justice or the West Virginia

   Department of Environmental Protection at or prior to 4:00 p.m. (prevailing Eastern time)

   on the day that is five days from the date of the notice provided under this paragraph, the

   Debtors shall not proceed with such sale absent consent of the United States Department

   of Justice or the West Virginia Department of Environmental Protection, as applicable, or

   further order of the Court; and a copy of any such objection(s) by the United States

   Department of Justice or the West Virginia Department of Environmental Protection, and

   any proposed consensual resolution thereof, shall be provided to the Committee’s

   counsel; and it is further



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                    ORDERED that if the Sale Price for the sale of a De Minimis Asset is

   greater than $1,500,000 and less than or equal to $5,000,000, the following Procedures4

   shall be followed:

                    1.       The Debtors shall file a notice with the Court substantially in the

   form attached hereto as Exhibit A (the “Sale Notice”). The Sale Notice shall specify

   (i) the assets to be sold; (ii) the identity of the purchaser; (iii) whether the purchaser is an

   “insider” or “affiliate”, as those terms are defined under section 101 of the Bankruptcy

   Code, of any of the Debtors, Peabody Energy Corporation or its insiders or affiliates, or

   Arch Coal, Inc. or its insiders or affiliates; (iv) any commissions to be paid to third

   parties (such as brokers); (v) the proposed purchase price and the marketing process used

   by the Debtors before entering into the proposed sale agreement; (vi) to the extent known

   to the Debtors, the permit number of any SMCRA, NPDES, SPDES or NRC licenses or

   permits issued in connection with any real property to be sold; (vii) to the extent known

   to the Debtors, the permit number of any applicable and affected permit issued by the

   State of West Virginia Department of Environmental Protection in connection with any

   real property to be sold; (viii) to the extent known to the Debtors after reasonable inquiry,

   the identity of any surety provider that has issued a bond securing the Debtors’

   performance of its obligations under any coal mining permit issued by any federal, state,

   or local authority, and the permit number of such coal mining permit, (a) issued with

   respect to real property to be sold or (b) for which any mining or reclamation equipment

   to be sold is necessary to comply with such coal mining permit; and (ix) a description of

   any known environmental contamination of the De Minimis Asset to be sold that requires

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              These Procedures and the Sale Price thresholds shall govern, notwithstanding anything to the
   contrary in the Motion.


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   reporting to a governmental unit under applicable environmental law or, if not so

   required, is reasonably expected to require non-de minimis investigation, remediation or

   cleanup under applicable environmental laws. The Debtors shall serve the Sale Notice on

   the following parties: (i) the Office of the United States Trustee for the Southern District

   of New York, 33 Whitehall Street, 21st Floor, New York, New York 10004, Attn:

   Elisabetta G. Gasparini and Paul K. Schwartzberg (the “U.S. Trustee”); (ii) attorneys for

   the administrative agents for the Debtors’ postpetition lenders, (a) Weil, Gotshal &

   Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Marcia Goldstein

   and Joseph Smolinsky, and (b) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New

   York, New York 10019, Attn: Margot B. Schonholtz and Ana Alfonso; (iii) proposed

   counsel to the Committee, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the

   Americas, New York, New York 10036, Attn: Adam C. Rogoff, Esq. and Gregory G.

   Plotko, Esq.; (iv) any person or entity with a particularized interest in the De Minimis

   Assets to be sold, including any known creditor asserting a lien, claim, interest or

   encumbrance on the De Minimis Assets; (v) any surety provider (and its counsel), to the

   extent known to the Debtors after reasonable inquiry, that has bonded obligations of the

   Debtors with respect to real property subject to coal mining permits relating to the real

   property to be sold; (vi) with respect to any proposed sale or transfer of a West Virginia

   Property Interest, the West Virginia Department of Environmental Protection; and

   (vii) with respect to any proposed sale of real property associated with any SMCRA,

   NPDES, SPDES or NRC licenses or permits, or with respect to any proposed sale of a De

   Minimis Asset with known environmental contamination that requires reporting to a

   governmental unit under applicable environmental law or, if not so required, is



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   reasonably expected to require non-de minimis investigation or cleanup under applicable

   environmental laws, the United States Department of Justice.

                          a.      The deadline for filing an objection (the “Objection”) to

   the proposed sale of De Minimis Assets shall be 4:00 p.m. (prevailing Eastern time) on

   the day that is 10 days from the date the Sale Notice is filed and served (the “Sale

   Objection Deadline”).

                  2.      An Objection will be considered timely only if it is filed with the

   Court, One Bowling Green, New York, New York 10004-1408, and actually received by

   the following parties on or before the Sale Objection Deadline: (i) the U.S. Trustee;

   (ii) counsel to the Debtors, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New

   York, New York 10017, Attn: Marshall S. Huebner and Brian M. Resnick; (iii) attorneys

   for the administrative agents for the Debtors’ postpetition lenders, (a) Weil, Gotshal &

   Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Marcia Goldstein

   and Joseph Smolinsky and (b) Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New

   York, New York 10019, Attn: Margot B. Schonholtz and Ana Alfonso; and (iv) proposed

   counsel to the Committee, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the

   Americas, New York, New York 10036, Attn: Adam C. Rogoff, Esq. and Gregory G.

   Plotko, Esq.

                          a.      Unless otherwise ordered by the Court, a reply to an

   Objection may be filed with the Court and served on or before 12:00 p.m. (prevailing

   Eastern Time) on the day that is at least two business days before the date of the

   applicable hearing.




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                          b.      If no Objections are timely received and filed by the Sale

   Objection Deadline, the Debtors may immediately sell the De Minimis Assets listed in

   the Sale Notice and take any actions that are reasonably necessary or desirable to close

   the transaction and obtain the sale proceeds. If an Objection is timely received and filed

   and cannot be settled by the Debtors and the objecting party (with notice to the

   Committee’s counsel and counsel to the DIP Agents), the De Minimis Asset that is the

   subject of the Objection will not be sold except upon order of the Court; provided,

   however, that any De Minimis Asset set forth in the Sale Notice that is not the subject of

   an Objection may be immediately sold in accordance with the foregoing sentence; and it

   is further

                  ORDERED that if the Sale Price for the sale of a De Minimis Asset is

   greater than $5,000,000, the Debtors shall file a motion with the Court requesting

   approval of the sale pursuant to section 363 of the Bankruptcy Code, among other

   applicable provisions; and it is further

                  ORDERED that the Debtors shall be permitted to compensate any non-

   insider broker engaged by the Debtors in connection with any sale or attempted sale of

   De Minimis Assets; provided, however, that if an Objection to the payment of any

   broker’s fees is timely received and filed by the Sale Objection Deadline, then the portion

   of such broker’s fees to which the Objection is directed shall not be paid until such

   Objection is consensually settled or until the Court approves such payment; and it is

   further




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                   ORDERED that the Procedures satisfy section 363(f) of the Bankruptcy

   Code and any De Minimis Asset sold pursuant to the Procedures shall be free and clear of

   all Liens; and it is further

                   ORDERED that any creditor asserting a Lien on any De Minimis Assets to

   be sold that receives the Sale Notice will have an opportunity to object to any sale in

   which they claim an interest. If a holder of a Lien receives the Sale Notice and does not

   object by the Sale Objection Deadline, the Lien holder will be deemed to have consented

   to the proposed sale and the property may then be sold free and clear of the holder’s

   interests pursuant to section 363(f) with any such Liens to be, at the Debtors’ sole

   discretion, either (i) satisfied from the proceeds of the sale or (ii) transferred and attached

   to the net sale proceeds in the same order of priority that such liens had on the

   De Minimis Assets sold; and it is further

                   ORDERED that those who purchase De Minimis Assets in accordance

   with the Procedures shall be afforded the protections under section 363(m) of the

   Bankruptcy Code; and it is further

                   ORDERED that the 14-day stay set forth in Bankruptcy Rule 6004(h) is

   hereby waived in connection with all sales of De Minimis Assets pursuant to the

   Procedures; and it is further

                   ORDERED that, solely for the purposes of the Procedures and the

   calculation of the estimated realizable gross proceeds from sale of the De Minimis Asset

   to be abandoned, entry into a series of abandonments within any given sixty-day period

   to the same given counterparty or its affiliates shall be deemed a single abandonment; and

   it is further



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                  ORDERED that if the estimated realizable gross proceeds from sale of the

   De Minimis Asset to be abandoned are to a non-insider and less than or equal to

   $1,500,000, the Debtors shall serve notice (with a copy to the Committee’s counsel) on

   the person or entity to whom the De Minimis Asset is to be abandoned and any person or

   entity known to the Debtors as having an interest in the De Minimis Asset to be

   abandoned, including any known creditor asserting a Lien on the De Minimis Asset to be

   abandoned. Such notice shall be served five business days before the De Minimis Asset

   is abandoned; provided, however, that the Debtors shall, on August 30, 2012, and by the

   15th day after the last business day of each calendar month thereafter, serve a report

   containing the following information regarding any abandoned property during the prior

   calendar month: (i) a description of the assets actually abandoned; (ii) the person or entity

   to whom the De Minimis Asset is to be abandoned; (iii) the Debtors’ estimate of the fair

   market value of the assets abandoned, if available; and (v) a brief description of the

   circumstances surrounding the abandonment , on a confidential basis, upon (a) proposed

   counsel to the Committee, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the

   Americas, New York, New York 10036, Attn: Adam C. Rogoff, Esq. and Gregory G.

   Plotko, Esq. and (b) counsel to the administrative agents for the Debtors’ postpetition

   lenders, (1) Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York

   10153, Attn: Marcia Goldstein and Joseph Smolinsky and (2) Willkie Farr & Gallagher

   LLP, 787 Seventh Avenue, New York, New York 10019, Attn: Margot B. Schonholtz

   and Ana Alfonso; provided, further, that the Debtors shall provide notice (with a copy to

   the Committee’s counsel) of any abandonment hereunder of any interest in any De

   Minimis Asset to the United States Department of Justice five days prior to the



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   abandonment of any real property associated with any SMCRA, NPDES, SPDES or NRC

   licenses or permits, or De Minimis Asset with known environmental contamination that

   requires reporting to a governmental unit under applicable environmental law or, if not so

   required, is reasonably expected to require non-de minimis investigation, remediation or

   cleanup under applicable environmental laws, and of any abandonment hereunder of any

   interest in any real property related to the Debtors’ coal mining operations to the extent

   such notice would be required under applicable law; provided further that with respect to

   any abandonment of real property that is subject to any coal mining permits with a surety

   bond securing the Debtors’ obligations under such permits, the Debtors shall provide

   notice (with a copy to the Committee’s counsel) to the applicable surety bond provider

   (and its counsel), to the extent known to the Debtors after reasonable inquiry, with such

   notice to be provided five days prior to the proposed abandonment and to include the

   identity of the real property and the related coal mining permit affected; provided further

   that with respect to the proposed abandonment of any West Virginia Property Interest, the

   Debtors shall provide notice (with a copy to the Committee’s counsel) to the West

   Virginia Department of Environmental Protection. To the extent that counsel to the

   Debtors, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York

   10017, Attn: Marshall S. Huebner and Brian M. Resnick, receives a written notice of an

   objection to any proposed abandonment under this paragraph by the United States

   Department of Justice or the West Virginia Department of Environmental Protection at or

   prior to 4:00 p.m. (prevailing Eastern time) on the day that is five days from the date of

   the notice provided under this paragraph, the Debtors shall not proceed with such

   abandonment absent consent of the United States Department of Justice or the West



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   Virginia Department of Environmental Protection, as applicable, or further order of the

   Court. A copy of any such objection(s) by the United States Department of Justice or the

   West Virginia Department of Environmental Protection, and any proposed consensual

   resolution thereof, shall be provided to the Committee’s counsel; and it is further

                        ORDERED that if the estimated realizable gross proceeds from sale of the

   De Minimis Asset to be abandoned are to a non-insider and are greater than $1,500,000

   and less than or equal to $5,000,000, the following Procedures5 shall be followed:

             1.         a.       The Debtors shall file a notice with the Court substantially in the

   form attached hereto as Exhibit B (the “Abandonment Notice”). The Abandonment

   Notice shall specify (i) the property to be abandoned; (ii) the reason for the abandonment;

   (iii) the parties known to the Debtors as having an interest in the property to be

   abandoned; (iv) the entity to which the property is to be abandoned; (v) if the entity to

   which the property is to be abandoned is an “insider” or “affiliate”, as those terms are

   defined under section 101 of the Bankruptcy Code, of any of the Debtors; (vi) to the

   extent known to the Debtors, the permit number of any SMCRA, NPDES, SPDES or

   NRC licenses or permits issued in connection with any real property to be abandoned;

   (vii) to the extent known to the Debtors, the permit number of any applicable and affected

   permit issued by the State of West Virginia Department of Environmental Protection in

   connection with any real property to be abandoned; (viii) to the extent known to the

   Debtors after reasonable inquiry, the identity of any surety provider that has issued a

   bond securing the Debtors’ performance of its obligations under any coal mining permit

   issued by any federal, state, or local authority, and the permit number of such coal mining

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                 These Procedures and the thresholds shall govern notwithstanding anything to the contrary in the
   Motion.


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   permit, (a) issued with respect to real property to be abandoned or (b) for which any

   mining or reclamation equipment to be abandoned is necessary to comply with such coal

   mining permit; and (ix) a description of any known environmental contamination of the

   De Minimis Asset to be abandoned that requires reporting to a governmental unit under

   applicable environmental law or, if not so required, is reasonably expected to require

   non-de minimis investigation, remediation or cleanup under applicable environmental

   laws. The Debtors shall serve the Abandonment Notice on the following parties: (i) the

   U.S. Trustee; (ii) proposed counsel to the Committee, Kramer Levin Naftalis & Frankel

   LLP, 1177 Avenue of the Americas, New York, New York 10036, Attn: Adam C.

   Rogoff, Esq. and Gregory G. Plotko, Esq.; (iii) counsel to the DIP Agents, namely,

   (1) Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn:

   Marcia Goldstein and Joseph Smolinsky and (2) Willkie Farr & Gallagher LLP, 787

   Seventh Avenue, New York, New York 10019, Attn: Margot B. Schonholtz and Ana

   Alfonso; (iv) any person or entity with a particularized interest in the De Minimis Asset

   to be abandoned, including any known creditor asserting a lien, claim, interest or

   encumbrance on the De Minimis Asset and any surety provider (and its counsel), to the

   extent known to the Debtors after reasonable inquiry, that has bonded obligations of the

   Debtors with respect to real property subject to coal mining permits relating to the De

   Minimis Assets to be abandoned; (v) the entity to which the De Minimis Asset is to be

   abandoned; (vi) with respect to any proposed abandonment of any West Virginia

   Property Interest, the West Virginia Department of Environmental Protection; and

   (vii) with respect to any proposed abandonment of real property associated with any

   SMCRA, NPDES, SPDES or NRC licenses or permits, or with respect to any De



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   Minimis Asset with known environmental contamination that requires reporting to a

   governmental unit under applicable environmental law or, if not so required, is

   reasonably expected to require non-de minimis investigation, remediation or cleanup

   under applicable environmental laws, the United States Department of Justice.

                          b.      The deadline for the filing of an Objection to the proposed

   abandonment of De Minimis Assets shall be 4:00 p.m. (prevailing Eastern time) on the

   day that is 10 days from the date the Abandonment Notice is filed and served (the

   “Abandonment Objection Deadline”).

          2.      c.      An Objection will be considered timely only if it is filed with the

   Court, One Bowling Green, New York, New York 10004-1408 and actually received by

   the following parties on or before the Abandonment Objection Deadline: (i) the U.S.

   Trustee; (ii) counsel to the Debtors, Davis Polk & Wardwell LLP, 450 Lexington

   Avenue, New York, New York 10017, Attn: Marshall S. Huebner and Brian M. Resnick;

   (iii) attorneys for the administrative agents for the Debtors’ postpetition lenders, (a) Weil,

   Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Marcia

   Goldstein and Joseph Smolinsky and (b) Willkie Farr & Gallagher LLP, 787 Seventh

   Avenue, New York, New York 10019, Attn: Margot B. Schonholtz and Ana Alfonso; and

   (iv) proposed counsel to the Committee, Kramer Levin Naftalis & Frankel LLP, 1177

   Avenue of the Americas, New York, New York 10036, Attn: Adam C. Rogoff, Esq. and

   Gregory G. Plotko, Esq.

                          d.      Unless otherwise ordered by the Court, a reply to an

   Objection may be filed with the Court and served on or before 12:00 p.m. (prevailing




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   Eastern Time) on the day that is at least two business days before the date of the

   applicable hearing.

                           e.      If no Objections are timely received and filed by the

   Abandonment Objection Deadline, the Debtors may immediately abandon the De

   Minimis Asset listed in the Abandonment Notice and take any actions that are reasonably

   necessary or desirable to abandon the subject property. If an Objection is timely received

   and filed and cannot be resolved between the Debtors and the objecting party (with notice

   to the Committee’s counsel and counsel to the DIP Agents), the De Minimis Asset that is

   the subject of the Objection will not be abandoned except upon order of the Court;

   provided, however, that any De Minimis Asset set forth on the applicable Abandonment

   Notice and not the subject of an Objection may be immediately abandoned in accordance

   with the foregoing sentence; and it is further

                   ORDERED that if the estimated realizable gross proceeds from sale of the

   De Minimis Asset to be abandoned are greater than $5,000,000, the Debtors shall file a

   motion with the Court requesting approval of the abandonment pursuant to section 554 of

   the Bankruptcy Code, among other provisions; and it is further

                   ORDERED that the Debtors shall not abandon De Minimis Assets

   pursuant to the Procedures where the abandonment would pose an environmental hazard

   or where a serious risk to the public is likely to result; and it is further

                   ORDERED that nothing in this Order or in any asset sale agreement

   entered into pursuant to this Order: (a) releases, nullifies, precludes or enjoins the

   enforcement of any liability (including for penalties, damages, cost recovery or injunctive

   relief) to a governmental unit under police and regulatory statutes or regulations



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   (including but not limited to such environmental laws or regulations) that any entity

   would be subject to as the owner, lessor, lessee, controller or operator of property that is

   sold or transferred pursuant to this Order; (b) diminishes the obligation of any entity,

   including the Debtors or the purchasers, to comply with applicable environmental or

   public health laws; (c) authorizes the transfer to the purchaser of any governmental

   licenses, permits, registrations, authorizations or approvals without compliance with all

   applicable legal requirements under the law governing such transfers; or (d) limits the

   United States of America through the U.S. Department of the Interior’s Office of Surface

   Mining (“OSM”) from taking appropriate action to (i) take enforcement actions pursuant

   to 30 C.F.R. Parts 842 and 843, (ii) pursue the individuals who owned or controlled the

   Debtors through alternative enforcement actions under 30 C.F.R. Part 847 and (iii) link

   the Debtors’ owners or controllers to violations on OSM’s Applicant Violator System;

   and it is further

                   ORDERED that nothing in this Order shall be deemed to allow the

   Debtors to abandon real or personal property in violation of any applicable U.S. state or

   federal laws or regulations, including but not limited to U.S. environmental laws and

   regulations; and it is further

                   ORDERED that, in addition to the notices required to be provided herein,

   the Debtors shall provide notice of any sale or abandonment hereunder to any state or

   federal environmental regulatory authority, including, but not limited to, the United

   States Department of Interior, United States Department of Labor, United States

   Environmental Protection Agency and United States Nuclear Regulatory Commission, to

   the extent otherwise required by applicable law; and it is further



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                   ORDERED that nothing in this Order shall be construed to create for any

   governmental unit any substantive right that does not already exist under law nor to limit

   in any respect the substantive rights of any party, including the Debtors, under the

   Bankruptcy Code; and it is further

                   ORDERED that, subject to the Procedures set forth in this Order, nothing

   herein shall impair the Debtors’ ability to conduct their businesses in the ordinary course

   of business without seeking approval of this Court; and it is further

                   ORDERED that to the extent that there may be any inconsistency between

   the terms of the final order approving the debtor in possession financing and this Order,

   the terms of the final order approving the debtor in possession financing shall govern; and

   it is further

                   ORDERED that nothing herein shall relieve the Debtors of any of their

   obligations under the Debtors’ postpetition lending facility or enlarge the Debtors’ rights

   with respect thereto; and it is further

                   ORDERED that this Court retains jurisdiction to hear and determine all

   matters arising from or related to the implementation and/or interpretation of this Order;

   and it is further

                   ORDERED that the Procedures satisfy Bankruptcy Rules 2002 and 6007,

   and Local Bankruptcy Rule 6007-1; and it is further




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                  ORDERED that the notice procedures set forth in the Motion are good and

   sufficient notice and satisfy Bankruptcy Rule 9014 by providing the parties with a notice

   and an opportunity to object and be heard at a hearing.

   Dated: August 15, 2012
   New York, New York


                                        /s/ Shelley C. Chapman
                                        HONORABLE SHELLEY C. CHAPMAN
                                        UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT A

                                  Notice of Sale
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:
                                                           Chapter 11

   PATRIOT COAL CORPORATION, et al.,                       Case No. 12-12900 (SCC)

                                                           (Jointly Administered)
   Debtors.


             NOTICE OF SALE OF CERTAIN OF THE DEBTORS’ ASSETS
            FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES
             PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE

                    PLEASE TAKE NOTICE that, on [], 2012, the United States
   Bankruptcy Court for the Southern District of New York (the “Court”) entered the
   attached order (the “Order”) granting approval of certain procedures (the “Procedures”)
   for (i) the sale of certain assets (“De Minimis Assets”), free and clear of all liens, claims
   and encumbrances and (ii) the abandonment of certain De Minimis Assets [ECF. No.
   ___] in the chapter 11 cases of Patriot Coal Corporation and its subsidiaries that are
   debtors and debtors in possession in these proceedings (collectively, the “Debtors”).

                    PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the
   Order, unless a written objection (“Objection”) is filed with the Court and served in the
   manner provided for in the Order by ______________ _____, 2012, the De Minimis
   Assets listed on Appendix A attached hereto will be sold free and clear of all liens,
   claims, encumbrances or interests pursuant to, among other provisions, section 363 of
   title 11 of the United States Code, in accordance with the Order.
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                  PLEASE TAKE FURTHER NOTICE that, if an Objection is timely
   filed and served in accordance with the Order, the Debtors and the objecting party will
   use good faith efforts to resolve the Objection. If the Debtors and the objecting party are
   unable to consensually resolve the Objection, the Debtors shall not proceed with the sale
   of the De Minimis Assets that are the subject of the Objection pursuant to the Procedures,
   but may seek Court approval of the proposed transaction.

   Dated: New York, New York
          [ ], 2012



                                        By:
                                              Marshall S. Huebner
                                              Damian S. Schaible
                                              Brian M. Resnick
                                              Michelle M. McGreal

                                        DAVIS POLK & WARDWELL LLP
                                        450 Lexington Avenue
                                        New York, New York 10017
                                        Telephone: (212) 450-4000
                                        Facsimile: (212) 607-7983

                                        Counsel to the Debtors
                                        and Debtors in Possession




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                                                                            APPENDIX A

Assets(s) to       Name and               Proposed             Location of           Location of                                     If Applicable:
 be Sold           Address of              Purchase            Assets to be            Sale (if
                   Purchaser1             Price and               Sold                different            Affected          Description of Known Environmental
                                        Commissions                                 than location         Mining or          Contamination Requiring Reporting to
                                           to Third                                   of Assets)            Related                   Governmental Unit




                                                                                                                                                       12-12900-scc
                                         Parties and                                                    Permit(s) and
                                            Efforts                                                       License(s)
                                         Undertaken                                                      (and Surety
                                        to Market the                                                    Provider(s),
                                          Properties                                                    if applicable)




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                   Required only if purchaser is an “affiliate”, as that term is defined under section 101(2) of the Bankruptcy Code, of any of the Debtors.




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                                   EXHIBIT B

                              Notice of Abandonment
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:
                                                           Chapter 11

   PATRIOT COAL CORPORATION., et al.,                      Case No. 12-12900 (SCC)

                                                           (Jointly Administered)
   Debtors.


                     NOTICE OF ABANDONMENT OF CERTAIN OF
                       THE DEBTORS’ ASSETS PURSUANT TO
                     SECTION 554(a) OF THE BANKRUPTCY CODE

                    PLEASE TAKE NOTICE that, on [], 2012, the United States
   Bankruptcy Court for the Southern District of New York (the “Court”) entered the
   attached order (the “Order”) granting approval of certain procedures (the “Procedures”)
   for (i) the sale of certain assets (“De Minimis Assets”), free and clear of all liens, claims
   and encumbrances and (ii) the abandonment of certain De Minimis Assets [ECF. No.
   ___] in the chapter 11 cases of Patriot Coal Corporation and its subsidiaries that are
   debtors and debtors in possession in these proceedings (collectively, the “Debtors”).

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the
   Order, unless a written objection (“Objection”) is filed with the Court and served in the
   manner required by the Order by ______________ _____, 2012, the De Minimis Assets
   listed on Appendix A attached hereto will be abandoned pursuant to, among other
   provisions, section 554(a) of the Bankruptcy Code, in accordance with the Order.
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                  PLEASE TAKE FURTHER NOTICE that, if an Objection is timely
   filed and served in accordance with the Order, the Debtors and the objecting party will
   use good faith efforts to resolve the Objection. If the Debtors and the objecting party are
   unable to consensually resolve the Objection, the Debtors shall not proceed with the
   abandonment of the De Minimis Assets that are the subject of the Objection pursuant to
   the Procedures, but may seek Court approval of the proposed abandonment.

   Dated: New York, New York
          [ ], 2012



                                        By:
                                              Marshall S. Huebner
                                              Damian S. Schaible
                                              Brian M. Resnick
                                              Michelle M. McGreal

                                        DAVIS POLK & WARDWELL LLP
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                                        New York, New York 10017
                                        Telephone: (212) 450-4000
                                        Facsimile: (212) 607-7983

                                        Counsel to the Debtors
                                        and Debtors in Possession




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                                                 APPENDIX A

Property to be    Reason for   Known Parties      Name and         Location of                                        If Applicable:
 Abandoned       Abandonment    Asserting an      Address of      Property to be
                                 Interest in    Entity to Which    Abandoned          Affected                                     Description of




                                                                                                            12-12900-scc
                                  Property       Property is to                      Mining or                                        Known
                               Proposed to be   be Abandoned                           Related                                     Environmental
                                Abandoned                                          Permit(s) and                                   Contamination
                                                                                     License(s)                                      Requiring
                                                                                    (and Surety                                     Reporting to
                                                                                    Provider(s),                                   Governmental




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                                                                                   if applicable)                                       Unit




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